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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

KENNETH NASSET                                *               CASE NO. 18-9253

        vs.                                   *               SECT. A(1)

UNITED STATES OF AMERICA                      *               JUDGE ZAINEY

                                              *               MAG. VAN MEERVELD

                    THE USA’S MEMORANDUM IN OPPOSITION
                TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

        This Memorandum in opposition is filed on behalf of the United States of America

(“USA”) to confirm that Plaintiff is not entitled to judgment on Plaintiff’s medical malpractice and

informed consent claims because: (1) Plaintiff’s only expert Dr. Levin does not have the degree of

knowledge or skill that must be possessed by a health care provider in the field in question, as

required by La. R.S. 9:2794A; (2) this is not a case where the obvious negligence exception would

apply and therefore expert testimony is required; and (3) Plaintiff was advised of all the risks of

the medication Enbrel, including the risk of congestive heart failure.

I.      Burden of Proof

     A. Plaintiff’s motion for summary judgment

        Federal Rule of Civil Procedure 56(a) provides “the Court shall grant summary judgment

if the movant shows that there is no genuine dispute as to any material fact and the movant is

entitled to judgment as a matter of law.” The party seeking summary judgment bears the initial

burden of informing the court of the basis for their motion and identifying those portions of the

pleadings, depositions, answers to interrogatories, admissions on file, and affidavits, if any, which

they believe demonstrate the absence of a genuine issue of material fact. See Celotex Corp. v.

Catrett, 477 U.S. 317, 323 (1986); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986);

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Colson v. Grohman, 174 F.3d 498, 506 (5th Cir. 1999); Marshall v. East Carroll Parish Hosp.

Serv. Dist., 134 F.3d 319, 321 (5th Cir. 1998). The moving parties, however, need not negate the

elements of the nonmovant's case. See Wallace v. Texas Tech Univ., 80 F.3d 1042, 1047 (5th Cir.

1996).

         Once a proper motion has been made, the nonmoving party may not rest upon mere

allegations or denials in the pleadings, but must present affirmative evidence, setting forth specific

facts, to show the existence of a genuine issue for trial. Celotex, 477 U.S. at 322-23; Anderson,

477 U.S. at 257; Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 585-86 (1986);

Colson, 174 F.3d at 506; Marshall, 134 F.3d at 321-22. All the evidence must be construed "in

the light most favorable to the non-moving party without weighing the evidence, assessing its

probative value, or resolving any factual disputes." Williams v. Time Warner Operation, Inc., 98

F.3d 179, 181 (5th Cir.1996) (citing Lindsey v. Prive Corp., 987 F.2d 324, 327 n. 14 (5th Cir.

1993)); Messer v. Meno, 130 F.3d 130, 134 (5th Cir.1997).

II.      Argument

      A. Plaintiff’s medical malpractice claims, Counts I and II, should be dismissed because
         Plaintiff failed to meet his burden of proof.

         The Plaintiff’s motion for summary judgment should be denied for the following reasons:

(1) under Louisiana law, the VA’s internal policy cannot establish the applicable standard of care;

(2) Dr. McGrath did not testify as to the standard of care nor did he admit to breaching the standard

of care; (3) Plaintiff failed to meet his burden of proof as to the standard of care element because

Plaintiff’s Rules 26 designation of experts did not disclose that a treating physician would testify

as to the standard of care; (4) this Court has already ruled that Dr. Levin is unqualified to opine on

the standard of care; and (5) Plaintiff cannot meet his burden of proof on his medical malpractice

claims without expert testimony.


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        The USA already briefed these issues in its previously-filed memorandum in support of

the USA’s motion for reconsideration, R. Doc. 59-1. Therefore, the USA adopts and incorporates

that memorandum in support as if copied in extensio. For the reasons discussed in that

memorandum, Plaintiff cannot satisfy his burden of proof regarding his medical malpractice claims

and this Court should deny his motion for summary judgment.

    B. Plaintiff’s informed consent claim, Count III, should be dismissed because Plaintiff
       was advised of all material risks, and Plaintiff failed to establish that any alleged
       failure to advise caused his injuries.

    Plaintiff has failed to satisfy his burden of proof as to all four elements of his informed consent

claim. Therefore this Court should deny Plaintiff’s motion for summary judgment on his informed

consent claim. Under Louisiana law, the plaintiff must prove: (1) the existence of a material risk

unknown to the patient; (2) a failure to disclose that risk on the part of the physician; (3) that

disclosure of the risk would have led a reasonable patient in plaintiff’s position to reject the medical

procedure or choose a different course of treatment; and (4) injury.

        1. The risk of congestive heart failure is not a material risk.

        In Louisiana, a physician is not charged with the duty of informing a patient of any and all

known risks however slight or immaterial, but rather, a physician has the duty to disclose all

material risks of the proposed treatment. Deroche v. Tanenbaum, 131 So.3d 400 (La. App. 4 Cir.

12/18/13). “The determination of materiality is a two-step process. The first step is to define the

existence and nature of the risk and the likelihood of its occurrence. “Some” expert testimony is

necessary to establish this aspect of materiality because only a physician or other qualified expert

is capable of judging what risk exists and the likelihood of occurrence.” Id. (emphasis supplied).

“A risk is material when a reasonable person in what the doctor knows or should know to be the




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patient’s position, would be likely to attach a significance to the risk in deciding whether or not to

forego the proposed therapy.” Id. at 404, 411-413.

        Plaintiff has failed to establish that less than 0.1% chance of having congestive heart failure

was a material risk. Plaintiff has failed to produce any expert testimony establishing that the risk

of congestive heart failure is a material risk. To the contrary, the risk of CHF is not a boxed

warning, which is the strongest form of warning required by the FDA for prescription drug

labeling. See Enbrel insert, attached hereto as Exhibit 9. Further, the declaration of Dr. Wilson

establishes that the risk of congestive heart failure is not a material risk. See the declaration of Dr.

Wilson, attached hereto as Exhibit 10. 1 Dr. Wilson concludes, “the boxed warning for a TNF

inhibitor include the risk of infections and malignancies.” Id. at ¶5. Further, “Dr. McGrath did

not breach the standard of care of a rheumatologist by failing to inform Mr. Nasset of the risk of

Enbrel potentially worsening congestive heart failure and of the rare new-onset cases of congestive

heart failure because this risk is less than 0.1%. This low risk is not a boxed warning of Enbrel.”

Id. at ¶6. Accordingly, the risk of congestive heart failure is not a material risk, Plaintiff cannot

satisfy his burden of proof as to this element of his informed consent claim, and Plaintiff’s motion

for summary judgment should be denied.

        2. Plaintiff was advised of the risks of Enbrel, including the risk of congestive heart
           failure.

        Plaintiff was advised of all material risks of Enbrel by three separate rheumatologists, Dr.

McGrath, Dr. Vargas, and Dr. Emejuaiwe. See. Ex. 3 and Ex. 8 and 8A, the declaration of Dr.

Emejuaiwe.




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  It should be noted that the USA had to supplement Dr. Wilson’s testimony because at the time of Dr. Wilson’s
February 27, 2020 report, the Plaintiff had not plead an informed consent claim. Plaintiff was given leave to amend
his Complaint, and did not plead the informed consent until June 16, 2020. R. Doc. 50.

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        Further, Plaintiff was also advised of the risk of congestive heart failure by Dr. Emejuaiwe.

See Ex. 8. Dr. Emejuaiwe went above and beyond what she was required to do by informing

Plaintiff of the small risk of congestive heart failure. Id. 16. At that June 5, 2017 visit, Dr.

Emejuaiwe went over the risks of immunosuppressive therapy, including the risk of infection and

the low risk of developing new congestive heart failure or exacerbation of existing heart failure.

Id. Afterwards, Plaintiff acknowledged his understanding of the risks associated with Enbrel. Id.

Dr. Emejuaiwe suggested to Plaintiff that he discontinue Enbrel because he reported to be in pain.

Id. Plaintiff responded that he did not want to be taken off of Enbrel. He reported he wanted to

continue taking Enbrel because the benefits he derived from Enbrel were quite significant

including less pain and more energy. Id. For Plaintiff to suggest he should never have been

prescribed Enbrel contradicts his own insistence to stay on the medication on June 5, 2017.

        Plaintiff was advised of all material risks by three rheumatologists. Although the risk of

congestive heart failure was not a material risk, he was still advised of this risk by Dr. Emejuaiwe.

Thus, Plaintiff is not entitled to summary judgment on the informed consent claim.

        3. The disclosure of the risk of congestive heart failure would not have led a
           reasonable patient to reject the treatment because the risk was so small.

        Nothing in Plaintiff’s one-paragraph argument is sufficient to meet his burden of proof that

a reasonable patient would have rejected the TNF inhibitor if he had been informed of the low risk

of congestive heart failure. Indeed, a reasonable patient would not reject taking a TNF inhibitor

because of the low risk of congestive heart failure. As Dr. Wilson notes, “[i]n my experience,

patients with psoriatic arthritis take Enbrel despite the low risk of congestive heart failure because

that risk is so small and the benefits of taking Enbrel for the patient’s psoriatic arthritis are great.”

Ex. 10 at ¶7. Therefore, Plaintiff has not met his burden of proof on this element and this Court

should deny his motion for summary judgment.


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       4. Plaintiff failed to prove that the alleged failure to advise of the risk caused his
          myocardial infarction and congestive heart failure.

       There are two aspects to proving causation as a result of a lack of informed consent:

       First, the plaintiff must prove the defendant’s breach of duty was a cause in fact of
       the claimed damages or that the defendant’s proper performance of the duty would
       have prevented the damages. Second, the plaintiff must prove that a reasonable
       patient in the plaintiff’s position would not have consented to the [treatment] if the
       material information and risks had been disclosed. An appellate court, in reviewing
       a jury’s determination that a doctor failed to obtain the patient’s informed consent,
       should focus on the duty of the doctor to provide material information to the patient
       under the circumstances of the particular case.

Tipton v. Campbell, 996 So.2d 27, 37 (La. App. 4 Cir. 9/24/08)(internal citations omitted). Here,

Plaintiff failed to establish both elements of the informed consent elements of causation because

there was no breach of duty, and even if there was that was not the cause of Plaintiff’s injuries.

           a. Dr. Levin is not qualified to opine on causation.

       For the reasons discussed in the USA’s motion for reconsideration, R. Doc. 59-1, Dr. Levin

is not qualified to offer causation testimony in this case. Plaintiff needs expert testimony from a

cardiologist or rheumatologist to establish that his myocardial infarction and congestive heart

failure was caused by Enbrel, which he failed to produce. In Jordan v. Cmty. Care Hosp., 2019-

0039 (La. App. 4 Cir. 7/24/19), 276 So. 3d 564, 579 the Louisiana Fourth Circuit held that the

obvious-negligence exception was inapplicable here, where the uses and contraindications of the

drug taken by plaintiff are not within the average lay person’s knowledge, and the appropriateness

of the administration of this drug to this particular patient would also not be common knowledge.

“Likewise, the element of causation as to the physician defendants would not be common

knowledge.” Id. Thus, expert testimony was required. The court held, “‘[m]ere speculation will

not defeat a motion for summary judgment, and conclusory allegations, improbable inferences,

and unsupported speculation are insufficient to support a finding that a genuine issue of material

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fact exists.”’ Id. (quoting Kinch v. Our Lady of Lourdes Reg’l Med. Ctr., 181 So.3d 900, 905 (La.

App. 3 Cir. 12/9/15)).

           Similarly, in this case, the uses and contraindications of Enbrel are not within the average

lay person’s knowledge, and the appropriateness of the administration of Enbrel to Plaintiff is not

common knowledge. Thus, expert testimony is required. Plaintiff’s expert, Dr. Levin, is not

qualified to opine on whether Enbrel caused the Plaintiff’s injuries, as he does not have the degree

of knowledge or skill that must be possessed by a health care provider in the field in question, as

required by La. R.S. 9:2794A. Even if Dr. Levin was qualified, his report does not establish

causation. And even if Dr. Levin was qualified and the opinion expressed in his report did establish

causation, both of which the USA disputes, the issue is contested. Accordingly, Plaintiff cannot

satisfy his burden of proof and summary judgment should be denied.

           b.       Dr. Levin did not opine on causation and his opinion is refuted by the USA’s
                    experts.

           On page 5 and 9 of Plaintiff’s memorandum, Plaintiff alleges, “Dr. Levin opines that the

injection of Enbrel caused the heart failure and that the injuries and negligence are connected

within a medical degree of certainty” and cites to Dr. Levin’s report. 2 Nothing could be farther

from the truth, as Dr. Levin did not opine that Enbrel caused Plaintiff’s injuries. The USA

encourages the Court to delve into the record in this case, as Plaintiff has continuously misstated

deposition testimony as well as expert testimony. Dr. Levin merely opined, “I conclude with

reasonable degree of medical certainty that a TNF inhibitor Enbrel should never have been

prescribed by Dr. McGrath to a patient with a known pre-existing heart condition sic e because

Enbrel has known side effects that cause heart failure, and its administration is contraindicated.”

See Ex. 5. This is insufficient under FRCP 26(a)(2)(B) and Fed. R. Evid. 702.


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    There is no citation to what page or paragraph of the report.

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           “Under Rule 26(a), expert reports must explain the ‘how’ and ‘why’ of the expert’s

opinions with specificity.” Fulmer v. United States, 2019 WL 1989233, at *3 (E.D. La. May 6,

2019) (Ashe, J.) (citing Sylla-Sawdon, 47 F.3d at 284). “Expert reports must not be sketchy, vague

or preliminary in nature.” Salgado by Salgado v. Gen. Motors Corp., 150 F.3d 735, 742 n.6 (7th

Cir. 1998) (citing Fed. R. Civ. P. 26 Advisory Committee Notes). Dr. Levin’s report completely

fails to explain the “how” or “why” for any of his opinions. Rather, he simply “concludes with a

medical degree of certainty.” Dr. Levin provides no medical literature or other applicable

standards to demonstrate that Dr. McGrath’s prescription of a TNF inhibitor to Plaintiff caused

him heart failure. Thus, Dr. Levin’s proposed testimony is mere ipse dixit, and this unreliable

evidence should be excluded under Rule 702. See Konrick v. Exxon Mobil Corp., 2016 WL

439361, at *11 (E.D. La. Feb. 4, 2016) (Vance, J.) (noting that “[w]ithout some explanation of

what these methodologies are or how she applied them to the scientific literature, Dr. Bearer’s

opinion is conclusory ipse dixit,” and granting motion to exclude expert), aff’d, 670 F. App’x 222

(5th Cir. 2016); Burst, 104 F. Supp. 3d at 790 (excluding unreliable expert witness testimony and

report).

           Dr. Levin has been disqualified for his conclusory reports in the past. See Canuto v. Sec'y

of Health & Human Servs., 660 F. App'x 955, 959 (Fed. Cir. 2016) (holding “Dr. Levin’s opinion

that the plaintiffs’ son’s autism was caused by a vaccine was ‘wholly unpersuasive regarding every

element necessary to proving causation-in-fact”’) and Baylor Coll. of Med. v. Davies, 599 S.W.3d

323, 330 (Tex. App. 2020) (holding Dr. Levin's causation opinion is conclusory, and as a matter

of law, a conclusory expert opinion does not afford a reasonable basis to conclude that a claim has

merit).




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       Even if this Court were to find that Dr. Levin’s report satisfies the requirements of FRCP

26(a)(2)(B) and Fed. R. Evid. 702 as to causation, the USA has produced two expert reports that

contradict the Plaintiff’s allegation, and therefore summary judgment must be denied. The USA’s

expert, Dr. Wilson noted, “[i]f patients with rheumatoid arthritis have a higher risk for congestive

heart failure because they have rheumatoid arthritis, then it is not possible to say that the anti-TNF

therapy can cause congestive heart failure.” See Ex. 6 at ¶15. “Because the studies of the effect of

anti-TNF biological agents on congestive heart failure were inconclusive, it is not possible to say

if Enbrel was a factor in his congestive heart failure.” Ex. 6 at ¶15. The USA’s expert, Dr.

Kushner, also disagrees with Dr. Levin.        Dr. Kushner noted, “[i]n reviewing the literature

surrounding the use of TNF alpha antagonists, I cite the scholarly review posted in UpToDate.com

and referenced below. That summary and its references state clearly that a definitive link between

these agents and congestive heart failure has not been made.” Ex. 7 at ¶9.

           c. Plaintiff’s own testimony refutes his allegations that his lack of consent to
              Enbrel caused his injuries.

       Plaintiff’s allegation that his lack of consent to Enbrel caused his myocardial infarction and

congestive heart failure is refuted by his own testimony and his sworn statements to the VA where

Plaintiff declares that his congestive heart failure is service related. Plaintiff’s own testimony

raises a genuine issue of material fact as to causation. Indeed, Plaintiff filed three separate

statements in support of his claim with the VA alleging that his congestive heart failure was service

related. See the July 18, 2017 statement signed by Plaintiff, attached hereto as Exhibit 11; the

April 18, 2018 statement signed by Plaintiff, attached hereto as Exhibit 12; and the January 29,

2019 statement signed by Plaintiff and Plaintiff’s counsel, attached hereto as Exhibit 13. Each of

these three statements had a penalty provision noting that “the law provides severe penalties which




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include fine or imprisonment, or both, for the willful submission of any statement or evidence of

a material fact, knowing it to be false.”

        Further, at plaintiff’s deposition, Plaintiff admitted that in his sworn statements he was

seeking to have his congestive heart failure from June of 2017 deemed service related.

Q:      And in this statement you seek to have your congestive heart failure from June of 2017

deemed service related; is that correct?

A:      Yes.

Q:      So is your congestive heart failure from June of 2017 service related or caused by a lack of

informed consent?

A:      It’s caused by a lack of informed consent.

See Ex. 2 at 93:11-15 .

Q:      Okay. So you have made three statements to the VA to support your claim that your

congestive heart failure in June of 2017 is service related; correct?

A:      I don’t know the exact number. But yes, I made multiple.

See Ex. 2 at 108:7-12. Accordingly, Plaintiff’s motion for summary judgment must be denied

because Plaintiff failed to establish that his injuries were caused by a lack of informed consent for

taking Enbrel.

III.    Conclusion

        Plaintiff’s summary judgment on his medical malpractice claims and informed consent

claim should be denied because Plaintiff failed to produce expert testimony in accordance with La.

R.S. 9:2794A, this is not a case where the obvious negligence exception would apply, and Plaintiff

was advised of all material risks of taking Enbrel.




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                                     Respectfully submitted,

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